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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

      IN RE: RASHIMA SOPHIA JOSEPH,             {   CHAPTER 13
                                                {
                                                {
              DEBTOR(S)                         {   CASE NO. A17-57345-BEM
                                                {
                                                {   JUDGE ELLIS-MONRO


                              OBJECTION TO CONFIRMATION


           COMES NOW MARY IDA TOWNSON, TRUSTEE herein, and objects to
      Confirmation of the plan for the following reasons:

           1. The Debtor(s) has failed to attend the 11 U.S.C.
      Section 341 hearing.

           2. The Debtor(s)' payments under the proposed plan are
      not current.

           3. The Debtor(s) has failed to provide the Trustee with a
      copy of the federal tax return or transcript of such return for
      the most recent tax year ending immediately before the
      commencement of the instant case and for which a federal income
      tax return was filed, in violation of 11 U.S.C. Section
      521(e)(2)(A)(i).

           WHEREFORE, the Trustee moves the Court to inquire into the
      above objections, deny Confirmation of this Debtor's (s') Plan
      and to dismiss the case; or, in the alternative, convert the
      case to one under Chapter 7.

            June 13, 2017



                                       __________/s/_____________
                                       K. Edward Safir, Attorney
                                       for Chapter 13 Trustee
                                       GA Bar No. 622149




      Mary Ida Townson, Chapter 13 Trustee
      Suite 2200 – 191 Peachtree Street, N.E.
      Atlanta, GA 30303-1740
      (404) 525-1110
      eds@atlch13tt.com
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                               CERTIFICATE OF SERVICE


            This is to certify that I have this day served

      DEBTOR(S):

      RASHIMA SOPHIA JOSEPH
      220 BAMMEL WESTFIELD ROAD, ROOM 303
      HOUSTON, TX 77090

      ATTORNEY FOR DEBTOR(S):

      KING & KING LAW LLC
      215 PRYOR STREET
      ATLANTA, GA 30303  

      in the foregoing matter with a copy of this pleading by
      depositing in the United States Mail a copy of same in a
      properly addressed envelope with adequate postage thereon.

      This 13th day of June 2017




                 /s/                   ___
      K. Edward Safir, Attorney
      for Chapter 13 Trustee
      GA Bar No. 622149




      Mary Ida Townson, Chapter 13 Trustee
      Suite 2200 – 191 Peachtree Street, N.E.
      Atlanta, GA 30303-1740
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